                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN

In The Matter of:                                            Chapter 13
                                                             16-43021-pjs
Warren J Williams                                            Judge Shefferly

Debtor(s)
______________________________/

       ORDER PURSUANT TO STIPULATION RESOLVING SPECIALIZED LOAN
    SERVICING LLC AS SERVICER FOR THE BANK OF NEW YORK MELLON, F/K/A
     THE BANK OF NEW YORK, SUCCESSOR IN INTEREST TO JPMORGAN CHASE
    BANK, N.A. AS TRUSTEE FOR STRUCTURED ASSET MORTGAGE INVESTMENTS
        II INC., BEAR STEARNS AL T -A TRUST, MORTGAGE PASS-THROUGH
    CERTIFICATES, SERIES 2005-7S’ MOTION FOR RELIEF FROM THE AUTOMATIC
                       STAY AND WAIVING F.R.B.P. 4001(A)(3)

         Warren J Williams (“Debtor”), by and through counsel, Michelle Marrs, and Specialized

Loan Servicing LLC as servicer for The Bank of New York Mellon, f/k/a The Bank of New

York, Successor in Interest to JPMorgan Chase Bank, N.A. as Trustee for Structured Asset

Mortgage Investments II INC., Bear Stearns AL T -A Trust, Mortgage Pass-Through

Certificates, Series 2005-7 (“Creditor”), by and through its counsel, SCHNEIDERMAN &

SHERMAN, P.C., hereby stipulate to the following:

 
         IT IS HEREBY STIPULATED that the Debtor is to file an Amended Chapter 13 Plan

within seven days of this order being entered by the Court or the Automatic Stay shall be granted

as to Creditor regarding the Property located at 11000 Warner Road, Concord, MI 49237,

without further notice, motion or hearing being required.

         IT IS FUTHER STIPULATED that should the Debtor default in any future payments to

the Trustee, Creditor may file with the Court and serve upon the Debtor, Debtor’s counsel, and

the Chapter 13 Trustee, a Notice of Default; that in the event that the Default is not then cured

100 percent on the Trustee’s records within 30 days from the date of service of said Notice,




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Creditor may submit an Order Granting Relief from the Automatic Stay to the Court, and Relief

from the Automatic Stay shall be granted as to Creditor regarding the Property located at 11000

Warner Road, Concord, MI 49237, without further notice, motion or hearing being required.

       IT IS FURTHER STIPULATED that Creditor is to file a Supplemental Proof of Claim

for its attorney fees and costs associated with the filing of the Motion for Relief from Stay, to be

paid by the debtor.


Signed on November 27, 2017




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